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lN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT ()F COLORADO

Civil Action No.

HEATHER CARTER,
“1 " 1 ‘ {`l*
riainun,
vs.
DAVID C. LOUCKS, M D , RICHARD M LGTSPEICH P A -C , '“id PEAK ORTHOPEDICS
A- - SPINE, PiL L;Ca
Defendants

 

COMPLAINT FGR DAMAGES AND JURY DEMAND

 

Plaintiff`, Heather Carter, by and through her attorneys of record, Leventhal, BroWn &

Puga, P.C., for her Complaint for Damages and Jury Demand, states and alleges as follows:
I. CERTIFICATE OF REVIEW

Pursuant to C.R.S. § 13-2()-602(3)(a), counsel certifies as follows:

Counsel has consulted With a physician With expertise in the areas of the alleged
negligent conduct as set forth in Plaintiff`s Complaint for Damages and Jury Demand; and,

The physician Who has been consulted has reviewed all currently known facts relevant to
the allegations of negligent conduct as complained of in Plaintiff‘s Complaint for Damages and
Jury Demand; and,

Based upon such facts, the physician has concluded that the filing of the claims against
Defendants does not lack substantial justification Within the meaning of C.R.S. § 13»17~102(4);

and,

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The physician who has reviewed all known facts relevant to the allegations of negligent

conduct as contained in Plaintiff‘s Cornplaint for Damages and lury Demand meet the

requirements set forth in C.R.S. § 13-64-40l.

4.

II. JURISDICTION AND VENUE
Plaintiff Heather Carter is a citizen of the State of Virginia.
Defendant David C. Loucl<s, l`vf.D. is a citizen of the State of Colorado.
De endant Richard l\./l. Lotspeicb P.A.~C. is a citizen of the State of Colorado.

Defendant Peak_ Orthopedics and Spine, P.L.L.C. is a citizen of the State of

Colorado, with its principal place of business in Colorado.

5.

Jurisdiction is proper in this Court under 28 USC §l332, by reason of the

diversity of citizenships of the Parties, and the amount in controversyz exclusive of interests and

costs, exceeds $75,000.

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Colorado.

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9.

All Def`endants reside in the State of Colorado.

to tile claims alleged herei“i occurred in the State of

Venue is proper in this Court under 28 USC §l39l.
III. GENERAL ALLEGATI()NS

Plaintiff incorporates by reference paragraphs l through 8 of this Complaint as if

fully set _orth herein

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Colorado.

At all relevant times, Plaintiff Heather Carter was a resident of the State of`

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l l. At all relevant times, Defendant David Craig Loucks, M.D., was a physician
licensed to practice medicine in the State of Colorado, holding himself out as a specialist in
orthopedic surgery.

12. At all relevant times, Defendant Richard M. Lotspeich, P.A.-C., was a Physician’s
Assistant licensed to practice in the State of Colorado.

13. At all relevant imes, Defendant Peak Orthopedics and Spine, P.L.L.C., was a
limited liability company transacting business in the State of Colorado,

14. On or about May 20, 2010, Plaintiff` was involved in an incident where she
sustained an injury to her left knee

15. As a result of her injury, Plaintiff came under the care of Defendants Loucks and

16. Plaintiff was diagnosed with, among other things, a bicondylar tibial plateau

fracture

17 . Defendant Louck

00

recommended a surgical intervention on Plai1 tiff" s left knee

l8. Cn or about l\/lay 22, 2010, Defendants Loucks and Lotspeich conducted a
surgery involving an open~reduction internal fixation on Plaintiff’ s left knee.

l9. Gn or about July 26, 201(), Plaintiff saw Defendant Loucks at Defendant Peak
Orthopedics and Spine, P.L.L.C. for a follow-up.

20. Defendant Loucl<s ordered a CT as a result of his concern for, among other things,
a malunion in the lateral plateau compartment

2l. Defendant Loucl<s confirmed that there was a malunion.

22. Defendants did not appropriately treat the malunion on or about July 26, 20 l O.

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23. On or about August 26, 201(), Plaintiff returned to Defendant Peak Orthopedics
and Spine, P.L.L.C. for a follow-up.

24. During this visit, Heather was seen by Defendant Lotspeich.

25. Defendant Lotspeich confirmed that Plaintiff had a malunion.

26. Defendants did not appropriately treat the malunion on or about August 26, 20l0.

27. As of approximately July 26, 2010, Defendants knew or should have known about

PlaintifF s malunited condition associated with her left knee

28. Nonetheless, Defendants did not recommend treatment until late September 20l0.
29. The negligence alleged herein concerns acts and omissions that took place on and

after the time that Defendants knew or should have known about Plaintiff’ s malunited condition

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30. On or about September 27, 20lG, Plaintiff retu“ne

Crthopedics and Spine, P.L.L.C. for a follow-up.

3 l. Defendant Loucks recommended a surgical intervention on PlaintifF s left knee

32. Defendant Lcucks recommended a partial knee replacement

33. A partial knee replacement was not the appropriate procedure for Plaintiff’ s
condition

34. Defendant Loucks did not recommend an alternative form of treatment

35. On or about October 12, 2010, Defendants Loucks and Lotspeich performed a
partial knee replacement on Plaintiff" s left knee
36. Defendants utilized and/or implanted an inappropriate device as part of this

procedure

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37. Defendants provided negligent and inappropriate care to Plaintiff pertaining to the
care and treatment of her left knee

38. As a direct and proximate result of the negligent care and treatment provided by
Defendants, Plaintiff has severe, disabling, and crippling injuries Plaintiff, who is only
approximately 26 years old, may never run again, is still experiencing severe pain, and is likely
to have to undergo additional surgical procedures, among other things

39. Plaintiff” s injuries are permanent

40. Plaintiff" s injuries are directly and proximately caused by the negligence of
Defendants

IVa FIRST CLAIM FOR RELIEF
(Negligence - Defendant David Craig Loucks, M.D.)

4l. Plaintiff incorporates by reference paragraphs l through 40 of this Complaint as if
fully set forth herein.

42. Betwcen approximately l\/lay and chember 2010, Plaintilf placed herself under
the care and treatment of Defendant Loucks.

43. While under the care and treatment of Defendant Loucks, Plaintiff suffered severe
and permanent injuries

44. With respect to the care and treatment of Plaintiff, Defendant Loucks owed a duty
to exercise that degree of care, skill, caution, diligence, and foresight exercised by and expected
of physicians in a similar situation. Defendant Loucks deviated from that standard and was

negligent, including, but not limited to, the following:

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a. Failing to properly evaluate, diagnose, and treat Plaintiff’ s medical
condition;

b. Failing to provide timely and appropriate medical testing and treatment to
Plaintiff;

c. Failing to properly and timely refer Plaintiff to appropriate medical
professionals;

d. F ailing to timely and appropriately address the malunion;

e. Failing to utilize an appriopriate device as part of the knee replacement

surgery; and

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Failing to provide appropriate care and treatment to Plaintiff for her left
knee

45. As a direct and proximate result of the negligence of Defendant Loucks, Plaintiff
has suffered significant and permanent physical impairment and disfigurement, emotional

distress, mental anguish, and physical surfering. Plaintilf` s injuries have been and Wil1 continue
to be disabling, incapacitating, and humiliating Plaintiff’ s injuries are permanent Plaintiff will
be forced to spend money in the future for medicines, prescriptions7 hospital care, X-rays, doctors
fees, surgical procedures, rehabilitation, physical therapy, other types of therapy, education costs,
and long term care and assistance Plaintiff has suffered a loss of earning capacity for the future
Plaintiff has suffered and will suffer a loss of the ability to enjoy a full, useful, and normal life.

Plaintiff has suffered economic losses, including, but not limited to, medical expenses for

pharmaceuticals7 physicians hospitalizations imaging, x-rays, doctors’ fees, surgical procedures,

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physical therapy, other therapies rehabilitation, educational costs and related medical care and
treatment, as well as long term care and assistance

46. As a direct and proximate result of the negligence of Defendant Loucks Plaintiff
has suffered past and future economic losses past and future non-economic losses past and
future disfigurement damages and past and future physical impairment damages These losses
include, but are not limited to, expenses for physicians hospitalizations rehabilitation, and
related medical care and treatment Plaintiff has been forced to spend monies in the past for
expenses for physicians hospitalizations rehabilitation, and related medical care and treatment
and Will, in the future, he forced to spend monies for medicine, hospital care, doctors’ fees
medical procedures and other related medical and rehabilitation costs Plaintiff has been and
will he forced to spend monies in the future for medicines hospital care, doctors’ fees medial
procedures and other related medical rehabilitation costs

V. SECOND CLAIM FGR RELIEF
(Negligence - Defendant Richard M. Lotspeich, P.A.-C.)

47. Plaintiff incorporates by reference paragraphs l through 46 of this Complaint as if
fully set forth herein.

48. Between approximately May and November 2010, Plaintiff placed herself under
the care and treatment of Defendant Lotspeich.

49. While under the care and treatment of Defendant Lotspeich, Plaintiff suffered
severe and permanent injuries

5 O. With respect to the care and treatment of Plaintiff, Defendant Lotspeich owed a

duty to exercise that degree of care, skill, caution, diligence, and foresight exercised by and

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expected of Physician’s Assistants in a similar situation. Defendant Lotspeich deviated from that

standard and was negligent7 including, but not limited to, the following:

a. Failing to properly evaluate, diagnose, and treat Plaintiff s medical
condition;

b. Failing to provide timely and appropriate medical testing and treatment to
Plaintiff;

c. Failing to properly and timely refer Plaintiff to appropriate medical
professionals

d. Failing to timely and appropriately address the malunion;

e, Failing to utilize an appriopriate device as part of the knee replacement
surgery; and

f. F ailing to provide appropriate care and treatment to Plaintiff for her left

knee

51. A.s a direct and proximate result of the negligence of Delendant Lotspeich7

Plaintiff suffered injuries damages and losses more fully described above
VI. THIRD CLAIM FOR RELIEF
(Respondeat Superior - Defendant Peak Orthopedics and Spine, P.L.L.C.)
52. Plaintiff incorporates by reference paragraphs l through 51 of this Complaint as if
fully set forth herein.
53. Between approximately May 2010 and November 201 O, Plaintiff was under the

care and treatment of healthcare providers including nurses and physician’s assistants such as

Defendant Lotspeich‘

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54. At all relevant times healthcare providers including Defendant Lotspeich were
employees agents officers and/or servants of Defendant Peak Grthopedics and Spine, P.L.L.C.,
and were acting within the course and scope of their employment, office, or authority.

55. Defendant Peak Orthopedics and Spine, P.L.L.C. is responsible for the negligent
acts of its employees agents officers and/or servants including, but not limited to, Defendant
Lostpeich and other healthcare providers

56. Defendant Peak Orthopedics and Spine5 P.L.L.C., by and through its employees
agents officers and/or servants including, Defendant Lotspeich, all acting within the course and
scope of their employment, office, or authority, was negligent in its care and treatment of

Plaintiff, including, but not limited to, the following;

a. F ailing to properly evalu"te, diagnose, and tre"t Plaintiff" s 1nedical
condition;

b. Failing to provide timely and appropriate medical testing and treatment to
Plaintiff;

c. F ailing to properly and timely refer Plaintiff to appropriate medical
professionals

d. F ailing to timely and appropriately address the malunion;

e. Failing to utilize an appriopriate device as part of the knee replacement
surgery; and

f. Failing to provide appropriate care and treatment to Plaintiff for her left

knee

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57. As a direct and proximate result of the negligence of Defendant Peak Orthopedics
and Spine, P.L.L.C., Plaintiff suffered injuries damages and losses more fully described above

VII. FOURTH CLAIM FOR RELIEF
(Informed Consent - Defendant David Craig Loucks, M.D.)

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58. Plai iiiff incorporates P iagi pile i ll uugu _) / uf find \./uulpicu it ab 11 fully act
forth herein.
59 With 1espect to the care and trea.ment provided to Plaintnf, Derendant Loucks

was negligent in failing to properly obtain informed consent from Plaintiff.

60. Defendant Loucks owed Plaintiff the duty to properly inform her of the risks of
and alternatives to the treatment that he would provide including that related to the partial knee
replacement

61. Had Defendant Loucks timely and properly informed Plaintiff of the risks of and
alternatives to the treatment that he would provide, including the risks of and alternatives to the
partial knee replacement Plaintiff would have made different choices concerning her treatment
and care, and, thus she would not have suffered the injuries damages and losses as more fully
described above

62. No reasonable person in the same or similar situation would have undergone the
treatment outlined by Defendant Loucks had such a reasonable person been properly informed of
the risks of and alternatives to that treatment

63. As a direct and proximate result of Defendant Loucks’ failure to provide proper
informed consent, Plaintiff has suffered injuries damages and losses as more fully described
above

WHEREFORE, Plaintiff prays for compensatory damages in favor of the Plaintiff and

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against the Defendants in an amount to be determined by the trier of fact, interest from the date

of the medical negligence pre-judgment interest post-judgment interest, pre-filing interest,

expert witness fees filing fees deposition expenses attorneys fees all costs and interests

allowable by applicable law, and for such other and further relief as this Court may deem

appropriate including all costs

PLAINTIFF REQUESTS A TRIAL TO A JURY.

respectfully Submiaed this 25th day er May, 2012.

LEVENTHAL, BROWN & PUGA, P.C.

By:

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s/Sean B. Leventhal

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ATTORNEYS FOR PLAINTIFF

